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                                  UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                           Lynchburg Division

      In Re:

      KAREN F. CUNNINGHAM,

                        Debtor.                                              Case No: 07-61731-WA1

      BANK OF AMERICA, N.A.,

                       Movant,                                             Chapter 7

      v.

      KAREN F. CUNNINGHAM,
      ANDREW S. GOLDSTEIN, Trustee,

                        Respondents.

                                            DISMISSAL ORDER

                  COMES NOW the Plaintiff, Bank of America, N.A. by counsel, on its Motion for Relief

      from the Automatic Stay filed herein and was argued by counsel.

                  UPON CONSIDERATION WHEREOF, it appearing to the Court that the Movant

      herein does not wish to pursue this matter further regarding its concerns raised in the Motion for

      Relief from the Automatic Stay heretofore filed herein; that, as a result, Movant has determined

      not to proceed further with its Motion filed herein but to dismiss same without prejudice; it is

      therefore



      Melvin R. Zimm, VSB #18017
      Patrick J. McKenna, VSB #31058
      Glasser and Glasser, P.L.C.
      Crown Center, Suite 600
      580 East Main Street
      Norfolk, Virginia 23510
      (757) 625-6787
      Attorneys for Bank of America, N.A.
                ORDERED that the Motion for Relief from the Automatic Stay filed herein be, and
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      hereby is, dismissed without prejudice; and it is further

                ORDERED that a copy of this Order be forwarded to Melvin R. Zimm, attorney for

      Movant,at Crown Center, Suite 600, 580 East Main Street, Norfolk, Virginia 23510-3320 who

      shall comply with the Local Rules of this Court respecting notice of entry of this Order.

      ENTER this 25th day of January, 2008.


                                                         Judge



      I ask for this:

      /s/ Melvin R. Zimm /s/ by Patrick J. McKenna
        With permission of Melvin R. Zimm
      Melvin R. Zimm, VSB #18017
      Patrick J. McKenna, VSB #31058
      Glasser and Glasser, P.L.C.
      Crown Center, Suite 600
      580 East Main Street
      Norfolk, Virginia 23510
      (757) 625-6787
      Attorneys for Bank of America, N.A.


                                               CERTIFICATE

                I hereby certify that on this 23rd day of January, 2008 a true copy of the foregoing Order
      was mailed, first class, postage prepaid to all necessary parties: to Stephen E. Dunn, Attorney for
      Debtor, at 201 Enterprise Drive, Suite A, Forest, Virginia 24551; to Andrew S. Goldstein,
      Trustee, at Post Office Box 404, Roanoke, Virginia 24006; and to Karen F. Cunningham, Debtor,
      at 2232 Ridgewood Drive, Lynchburg, Virginia 24503.


                                                         /s/ Melvin R. Zimm /s/ by Patrick J. McKenna
                                                           With permission of Melvin R. Zimm
                                                         Melvin R. Zimm
